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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: 1:19-CV-24745-RNS/Torres

   A.D.,

           Plaintiff,

   vs.

   MIAMI DADE COLLEGE,

         Defendant.
   _______________________________/

                        ORDER ON DEFENDANT’S MOTION TO DISMISS
                        AND INCORPORATED MEMORANDUM OF LAW

           THIS CAUSE came on to be considered upon Defendant MIAMI DADE COLLEGE’S

   Motion to Dismiss Plaintiff’s Complaint, and the Court being otherwise fully advised in the

   premises; it is hereby:

           ORDERED AND ADJUDGED that Defendant’s Motion to Dismiss Plaintiff’s

   Complaint is hereby GRANTED/DENIED.

           DONE AND ORDERED in Chambers, at Miami-Dade County, Florida on this _______

   day of __________________, 2020.



                                            ________________________________________
                                            UNITED STATES DISTRICT COURT JUDGE


   cc:     All counsel of record
